
39 Mich. App. 637 (1972)
197 N.W.2d 874
ROMANCHUK
v.
ROMANCHUK.
Docket No. 11489.
Michigan Court of Appeals.
Decided March 30, 1972.
Krolikowski &amp; Remick, for plaintiff.
Denys Kwitkowsky (Kenneth H. Phillips, of counsel), for defendant.
Before: LESINSKI, C.J., and J.H. GILLIS and QUINN, JJ.
MEMORANDUM OPINION.
Plaintiff-appellant filed a complaint for a divorce from bed and board pursuant to MCLA 552.7; MSA 25.87. The trial court granted an absolute divorce to plaintiff and from such judgment she appeals of right.
In an action for a divorce from bed and board the trial judge has the power, within his discretion, to grant an absolute divorce. *638 Ratcliffe v Ratcliffe, 308 Mich 488 (1944). A review of the briefs and records in the case at bar convinces us that the instant trial judge did not abuse his discretion. Furthermore, the plaintiff consented to an absolute divorce on the record. Accordingly, this appeal is without merit.
Affirmed. Costs to appellee.
